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  14
                          UNITED STATES DISTRICT COURT
  15
             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  16
       YUGA LABS INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
  17

  18              Plaintiffs/Judgment Creditor,    JOINT STIPULATION FOR
        v.                                         JUDGMENT CREDITOR YUGA
  19                                               LABS INC.’s MOTION TO
       RYDER RIPPS, JEREMY CAHEN,                  COMPEL DOCUMENTS FROM
  20                                               DOR, CRISOSTOMO, DOR &
                  Defendants/Judgment              DOW ACCOUNTANCY CORP.
  21
                  Debtors.
  22                                               [POST-JUDGMENT DISCOVERY
                                                   MATTER]
  23

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   1   I.     YUGA LAB’S ARGUMENT
   2          A.      Background on Post-Judgment Discovery
   3          On February 2, 2024, this Court entered a final judgment against Defendants
   4   Ryder Ripps and Jeremy Cahen (collectively, “Judgment Debtors”) for
   5   $8,895,346.50, plus attorneys’ fees, costs, and post-judgment interest (the “Final
   6   Judgment”). See Tennert Decl. Ex 1 (Final Judgment).
   7          Since then, Yuga Labs has initiated post-judgment enforcement efforts because
   8   Judgment Debtors have refused to engage with Yuga Labs regarding satisfaction of
   9   the Final Judgment.1 These enforcement efforts have included, among other things,
  10   investigating Judgment Debtors’ assets; issuing of a writ of execution (see Tennert
  11   Decl. Ex. 3 (Writ of Execution)) serving post-judgment interrogatories on the
  12   Judgment Debtors (see Tennert Decl. Ex. 4 (Interrogatories)) as well as serving
  13   subpoenas to produce relevant documents on the Judgment Debtors’ identified
  14   accountants.
  15          Relevant to this Motion, on August 13, 2024, Yuga Labs served a Subpoena
  16   on DCDD, Cahen’s accountant (the “Subpoena”).                      See Tennert Decl. Ex. 5
  17   (Subpoena). The Subpoena requested documents necessary to identify Cahen’s
  18   financial assets so that Yuga Labs can satisfy the Final Judgment through post-
  19   judgment enforcement. This included requests for financial statements, tax returns,
  20   and any other evidence that may help Yuga Labs identify Cahen’s sources of income
  21   and assets. Due to Cahen’s failure to respond to post-judgment interrogatories, such
  22   documents are necessary and reasonably likely to lead to assets that may satisfy the
  23   Final Judgment.
  24          On August 28, 2024, DCDD responded via email, stating that the only records
  25
       1
  26     In fact, Defendants’ counsel of record in this matter, Wilmer Cutler Pickering Hale and Dorr
       LLP (“Wilmer”), made clear that they do not represent the Defendants for post-judgment
  27   purposes. This was reaffirmed in writing when Yuga Labs sent Wilmer a letter on September 16,
       2024, along with copies of the post-judgment discovery served to date, requesting that it confirm
  28   the scope of its representation. See Tennert Decl. Ex. 2 (Letter to WilmerHale). This
       correspondence was ignored.
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   1   in DCDD’s control were Cahen’s federal and California state tax returns, along with
   2   accompanying schedules, prepared by the firm for 2021, 2022, and 2023. See Tennert
   3   Decl. Ex. 6 (Email from DCDD’s Counsel). However, DCDD withheld any of these
   4   responsive documents, as it asserted that Cahen’s counsel refused to provide Cahen’s
   5   consent to the disclosure of the documents, and therefore would not produce them
   6   without a court order. See Ex. 6. Critically, however, DCDD made clear that it “does
   7   not have a legal basis for objecting on privilege and/or right of privacy,” but is
   8   withholding production only because it had not received of “proper written consent
   9   of its tax client.” Id. at p. 2 (emphasis in the original). DCDD conceded that Cahen
  10   had not filed any formal objections and/or motion to quash the validly issued
  11   Subpoena. Id.
  12         Yuga Labs therefore initiated the meet and confer process with DCDD to see
  13   if it would produce the tax documents as the result of Cahen’s failure to timely object
  14   to the Subpoena.
  15         B.     Meet and Confer Efforts
  16         Counsel for both Yuga Labs and DCDD met and conferred telephonically on
  17   September 30, 2024. Counsel for DCDD reaffirmed its position that, while it would
  18   not oppose a motion to compel, it would not produce the responsive documents
  19   without a court order. Counsel for Yuga Labs responded that it intended to file the
  20   instant Motion, and counsel for DCDD agreed to sign a declaration affirming its
  21   non-opposition to the Motion. See Hopkins Decl.
  22         C.     Legal Standard
  23         Under federal law, the scope of post- judgment discovery is very broad, as it
  24   is “intended ‘to allow the judgment creditor a wide scope of inquiry concerning
  25   property and business affairs of the judgment debtor,’ and ‘to leave no stone
  26   unturned in the search for assets which might be used to satisfy the judgment.’ ”
  27   Salameh v. Tarsadia Hotel, Case No.: 9-cv-2739-GPC, 2016 WL 29618, *2 (S.D.
  28   Cal. Jan. 4. 2016) (quoting United States v Felman, 324 F. Supp. 2d 1112, 1116
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   1   (C.D. Cal. 2004)). Thus, “the judgment creditor must be given the freedom to make
   2   a broad inquiry to discover hidden or concealed assets of the judgment debtor.”
   3   Caisson Corp. v. County West Building Corp., 62 F.R.D. 331, 334 (E.D. Pa. 1974).
   4   Indeed, “a judgment creditor is entitled to fish for assets of the judgment debtor.”
   5   Ryan Inv. Corp. v. Pedregal de Cabo San Lucas, Case No. C 06-3219 JW, 2009 WL
   6   5114077, *4 (N.D. Cal. Dec. 19, 2009) (emphasis added). See also Republic of
   7   Argentina v. NML Capital, Ltd., 134 S. Ct. 2250, 2254 (2014) (“The rules governing
   8   discovery in post-judgment execution proceedings are quite permissive.”).
   9         “The party seeking to compel discovery has the burden of establishing that
  10   its request satisfies the relevancy requirements of Rule 26(b)(1). The party opposing
  11   discovery then has the burden of showing that the discovery should be prohibited,
  12   and the burden of clarifying, explaining or supporting its objections.” Bryant v.
  13   Ochoa, No. 07cv200 JM (PCL), 2009 WL 1390794, at *1 (S.D. Cal. May 14, 2009).
  14   “The party opposing discovery is ‘required to carry a heavy burden of showing’
  15   why discovery should be denied.” Reece v. Basi, No. 2:11-CV-2712 TLN (AC),
  16   2014 WL 2565986, at *2 (E.D. Cal. June 6, 2014), aff'd, 704 F. App'x 685 (9th Cir.
  17   2017) (quoting Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975)
  18   (emphasis added)). Ultimately, “[t]he district court enjoys broad discretion when
  19   resolving discovery disputes, which should be exercised by determining the
  20   relevance of discovery requests, assessing oppressiveness, and weighing these
  21   factors in deciding whether discovery should be compelled.” United States ex rel.
  22   Brown v. Celgene Corp., No. CV 10-3165 GHK (SS), 2015 WL 12731923, at *2
  23   (C.D. Cal. July 24, 2015) (internal citations and quotation marks omitted).
  24         D.     Tax Returns are Relevant to Post-Judgment Discovery
  25         Federal common law applies to questions of privilege in cases involving
  26   federal questions, and “[t]he Ninth Circuit has ‘explicitly rejected a federal privilege
  27   for tax returns.’ . . . ‘Thus in the post-judgment contexts, courts have readily
  28   required production of tax returns with no showing of compelling need, or with a
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   1   showing that the judgment debtor has produced only limited documents related to
   2   his assets.’”     See Sec. & Exch. Comm’n v. Premier Holding Corp.,
   3   818CV00813CJCKES, 2021 WL 6104308, at *4 (C.D. Cal. Sept. 7, 2021). When
   4   analyzing motions to compel tax returns where a tax preparer raises objections,
   5   courts, including courts in the Ninth Circuit, typically engage in a two prong
   6   analysis:
   7
             Tax returns do not enjoy an absolute privilege from discovery in the
   8         Ninth Circuit . . . Tax returns are subject to discovery if they are (1)
             relevant and (2) there is a compelling need for the returns because their
   9         information is not otherwise readily attainable from an alternative
             source . . . The party seeking discovery has the burden of showing
  10         relevancy, while the party resisting discovery has the burden of
             identifying the alternative source of information.
  11

  12         Rockhill v. Jeude, 2:011-CV-01308 BJR, 2012 WL 2924049, at *4 (W.D.
  13   Wash. July 18, 2012).
  14         Cahen’s tax returns, and any other financial documents underlying those
  15   returns, are relevant to identify his assets during this phase of post-judgment
  16   discovery. See A&F Bahamas, LLC v. World Venture Group, Inc., CV 17-8523
  17   VAP (SS), 2018 WL 5961297, at *2 (C.D. Cal. Oct. 19, 2018) (“The purpose of the
  18   post-judgment proceedings is to discover assets that might be available to satisfy
  19   the judgment, and, following discovery, to execute on those assets . . . Courts
  20   routinely stress that the scope of post-judgment discovery is ‘very broad.’ . . . Not
  21   only is the scope of such discovery broad, but ‘the presumption should be in favor
  22   of full discovery of any matters arguably related to [the creditor's] efforts to trace
  23   [the debtor's] assets and otherwise to enforce its judgment.’ . . . Even though Rule
  24   69 discovery may resemble the proverbial fishing expedition, ‘a judgment creditor
  25   is entitled to fish for assets of the judgment debtor.’”). Cahen’s tax returns will
  26   report his income, assets, and expenses during the relevant years of this lawsuit, and
  27   this information is reasonably likely to lead to the identification of assets that can
  28   be used to satisfy the judgment.
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   1          And although it is not Yuga Lab’s burden to identify alternate sources as to
   2   where it can find the information contained in Cahen’s tax returns, see Rockhill,
   3   2012 WL 2924049, at *4, Cahen cannot show an alternate source of information, as
   4   he refuses to consent to the disclosure of records and has failed to respond to Yuga
   5   Lab’s interrogatories served on August 27, 2024 before the September 26, 2024 due
   6   date. See Ex. 4 (post-judgment interrogatories). Therefore, the Subpoena is
   7   proportional to the needs of post-judgment discovery as Cahen has refused to
   8   engage in any post-judgment discovery whatsoever. See also A&F Bahamas, LLC,
   9   2018 WL 5961297, at *8 (“Furthermore, as one court has observed, the weight to
  10   be given an asserted interest in the confidentiality of financial documents, including
  11   tax returns, may differ in pre-judgment and post-judgment contexts. In pretrial
  12   discovery, courts may often ‘give precedence to the parties' legitimate desire to
  13   maintain confidentiality concerning their assets in the absence of a compelling need
  14   for the information.’ . . . ‘Once judgment has been entered against a defendant,
  15   however, that desire for confidentiality must necessarily yield to a plaintiff's
  16   legitimate need to acquire any and all information reasonably available to locate the
  17   defendant's assets. Thus in the post-judgment contexts, courts have readily required
  18   production of tax returns with no showing of compelling need, or with a showing
  19   that the judgment debtor has produced only limited documents related to his
  20   assets.”).
  21          Accordingly, Cahen’s tax returns are relevant and proportional to the needs
  22   of post-judgment discovery so that Yuga Labs can recover on the Final Judgment.
  23          E.    Cahen has Waived any Objection to the Subpoena.
  24          Despite being plainly on notice of the Subpoena, Cahen failed to timely move
  25   to quash the Subpoena or serve objections. Accordingly, any potential opposition
  26   to this Motion on behalf of Cahen is waived. See Fed. R. Civ. P. 45(d)(2)(B); see
  27   also Am. Fed'n of Musicians of the U.S. & Can. v. Skodam Films, LLC, 313 F.R.D.
  28   39, 43 (N.D. Tex. 2015) (“The failure to serve written objections to a subpoena
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   1   within the time specified by Rule 45(d)(2)(B) typically constitutes a waiver of such
   2   objections, as does failing to file a timely motion to quash.” (internal quotations and
   3   alterations omitted)); Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 48
   4   (S.D.N.Y.1996)) (“If [Defendant] believed the subpoenas [to non-parties] were
   5   objectionable, she could have argued that she has a right or privilege in relation to
   6   the documents and filed a motion to quash the subpoenas. Defendant did not file
   7   such a motion and, therefore, waived any objection she could have raised therein.”)
   8   (citations omitted).
   9         F.     Requested Relief
  10         For the foregoing reasons, Yuga Labs respectfully requests that this Court
  11   enter an order compelling DCDD to comply with the Subpoena, and order
  12   production of documents responsive to the Subpoena, which Yuga Labs
  13   understands to be Cahen’s 2021, 2022, and 2023 federal and California state tax
  14   returns and related documents.
  15   II.   DCDD’S ARGUMENT
  16         A.     DCDD Does Not Have Mr. Cahen’s Consent to Produce
  17         Upon receipt of the Subpoena, and after gathering all responsive documents,
  18   which were limited to Mr. Cahen’s tax and related records (as identified in the Decl.
  19   Hopkins Ex. 1, at ¶4), DCDD contacted Mr. Cahen requesting for his consent to
  20   produce the documents because, as licensed CPAs, it may not disclose Mr. Cahen’s
  21   tax return information to third parties (for purposes other than filing) without his
  22   written consent. See 26 CFR § 301.721-3; Rev. Proc. 2013-14, § 301.7216-1, §
  23   301.7216-2. Through counsel, DCDD provided Mr. Cahen and his counsel with the
  24   responsive records, which were bate numbered 0001 – 0223, then saved as a single
  25   file, “DCDD CPA – Rec Prod 0001-0223.” See Decl. Hopkins Ex. 1.
  26         In an August 27, 2024 responsive email, counsel for Mr. Cahen confirmed
  27   that “he did not give consent.” See Decl. Hopkins Ex. 1.
  28         DCDD’s sole concern is the issue of liability for a licensed CPA for
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   1   disclosing a client’s tax returns to a third party when it cannot obtain the client’s
   2   consent. DCDD’s review of legal authority did not resolve this concern. See, i.e.,
   3   Internal Revenue Code, 26 U.S.C. § 7216 [Disclosure or use of information by
   4   preparers of returns]; also see 26 C.F.R. § 301.7216-1 [“(a) In general, Section
   5   7216(a) prescribes a criminal penalty for tax return preparers who knowingly or
   6   recklessly disclose or use tax information for a purpose other than preparing a tax
   7   return.”]; and, more specifically, see exceptions to 7216(a) and § 301.7216-1, as
   8   identified under 26 C.F.R. § 301.7216-2 [Permissible disclosures or uses without
   9   consent of the taxpayer], at subd. F (1-6), which do not specify that a subpoena
  10   when issued only by a party, not per a Court order, can be sufficient to insulate a
  11   CPA from liability.
  12   III.   SPECIFIC REQUESTS AT ISSUE
  13   REQUEST 3(b)
  14          Produce all documents relating to the judgment debtor's revenue during the
  15   relevant time period, including but not limited to: (b) State and federal income tax
  16   returns, and all related forms and schedules (including all amended returns, forms,
  17   and schedules) the judgment debtor filed during or relating to the relevant time
  18   period.
  19   YUGA LABS ARGUMENT TO REQUEST 3(b)
  20          Cahen’s tax returns, and any other financial documents underlying those
  21   returns, are relevant to identify his assets during this phase of post-judgment
  22   discovery. See A&F Bahamas, LLC v. World Venture Group, Inc., CV 17-8523
  23   VAP (SS), 2018 WL 5961297, at *2 (C.D. Cal. Oct. 19, 2018) (“The purpose of the
  24   post-judgment proceedings is to discover assets that might be available to satisfy
  25   the judgment, and, following discovery, to execute on those assets . . . Courts
  26   routinely stress that the scope of post-judgment discovery is ‘very broad.’ . . . Not
  27   only is the scope of such discovery broad, but ‘the presumption should be in favor
  28   of full discovery of any matters arguably related to [the creditor's] efforts to trace
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   1   [the debtor's] assets and otherwise to enforce its judgment.’ . . . Even though Rule
   2   69 discovery may resemble the proverbial fishing expedition, ‘a judgment creditor
   3   is entitled to fish for assets of the judgment debtor.’”). Cahen’s tax returns will
   4   report his income, assets, and expenses during the relevant years of this lawsuit, and
   5   this information is reasonably likely to lead to the identification of assets that can
   6   be used to satisfy the judgment.
   7         And although it is not Yuga Lab’s burden to identify alternate sources as to
   8   where it can find the information contained in Cahen’s tax returns, see Rockhill,
   9   2012 WL 2924049, at *4, Cahen cannot show an alternate source of information, as
  10   he refuses to consent to the disclosure of records and has failed to respond to Yuga
  11   Lab’s interrogatories served on August 27, 2024 before the September 26, 2024 due
  12   date. See Ex. 4 (post-judgment interrogatories). Therefore, the Subpoena is
  13   proportional to the needs of post-judgment discovery as Cahen has refused to
  14   engage in any post-judgment discovery whatsoever.
  15         Despite being plainly on notice of the Subpoena, Cahen failed to timely move
  16   to quash the Subpoena or serve objections. Accordingly, any potential opposition
  17   to this Motion on behalf of Cahen is waived. See Fed. R. Civ. P. 45(d)(2)(B); see
  18   also Am. Fed'n of Musicians of the U.S. & Can. v. Skodam Films, LLC, 313 F.R.D.
  19   39, 43 (N.D. Tex. 2015) (“The failure to serve written objections to a subpoena
  20   within the time specified by Rule 45(d)(2)(B) typically constitutes a waiver of such
  21   objections, as does failing to file a timely motion to quash.” (internal quotations and
  22   alterations omitted)); Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 48
  23   (S.D.N.Y.1996)) (“If [Defendant] believed the subpoenas [to non-parties] were
  24   objectionable, she could have argued that she has a right or privilege in relation to
  25   the documents and filed a motion to quash the subpoenas. Defendant did not file
  26   such a motion and, therefore, waived any objection she could have raised therein.”)
  27   (citations omitted).
  28   ///
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   1   DCDD’s ARGUMENT TO REQUEST 3(b)
   2         DCDD’s sole concern is the issue of liability for a licensed CPA for
   3   disclosing a client’s tax returns to a third party when it cannot obtain the client’s
   4   consent. DCDD’s review of legal authority did not resolve this concern. See, i.e.,
   5   Internal Revenue Code, 26 U.S.C. § 7216 [Disclosure or use of information by
   6   preparers of returns]; also see 26 C.F.R. § 301.7216-1 [“(a) In general, Section
   7   7216(a) prescribes a criminal penalty for tax return preparers who knowingly or
   8   recklessly disclose or use tax information for a purpose other than preparing a tax
   9   return.”]; and, more specifically, see exceptions to 7216(a) and § 301.7216-1, as
  10   identified under 26 C.F.R. § 301.7216-2 [Permissible disclosures or uses without
  11   consent of the taxpayer], at subd. F (1-6), which do not specify that a subpoena
  12   when issued only by a party, not per a Court order, can be sufficient to insulate a
  13   CPA from liability.
  14   REQUEST 11
  15         Produce all Forms W-2, Forms W-4, and any other tax forms or tax
  16   documents for each employee or independent contractor of the judgment debtor
  17   during the relevant time period.
  18   YUGA LABS ARGUMENT TO REQUEST 11
  19         Yuga Labs incorporates by reference its argument from topic 3(b).
  20   DCDD’s ARGUMENT TO REQUEST 11
  21         DCDD incorporates by reference its argument from topic 3(b).
  22   REQUEST 12(g)
  23         Produce all documents relating to any real property the judgment debtor
  24   currently owns, holds, or claims any type of interest in, directly or indirectly, in
  25   whole or in part, or owned, held, or claimed any type of interest in, directly or
  26   indirectly, in whole or in part, during the relevant time period, including any and
  27   all: Documents concerning the payment of real property-related expenses (such as
  28   mortgage payments, taxes, insurance, and maintenance) (emphasis added).
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   1   YUGA LABS ARGUMENT TO REQUEST 12(g)
   2        Yuga Labs incorporates by reference its argument from topic 3(b).
   3   DCDD’s ARGUMENT TO REQUEST 12(g)
   4        DCDD incorporates by reference its argument from topic 3(b).
   5

   6                                        Respectfully requested,
   7
                                            FENNEMORE
   8

   9
       Dated October 28, 2024                 /s/ MaryJo E. Smart Pinocchio
  10                                        John D. Tennert, III
  11                                        MaryJo E. Smart Pinocchio
                                            Attorneys for Yuga Labs.
  12

  13
                                            The Hanover Law Firm
  14

  15
       Dated October 28, 2024               /s/ Bill R. Hopkins
  16                                        Bill R. Hopkins
  17                                        Attorneys for DCDD

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